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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

MARQUIS FURNITURE, INC.,                 )
              Plaintiff,                 )
v.                                       )                   Case No. CIV-04-1604-F
                                         )
MATHIS BROS. FURNITURE CO., INC., MATHIS )
BROS. OKLAHOMA CITY, LLC, MATHIS         )
EVANS, LLC, MATHIS HOLDING, INC.,        )
BROYHILL FURNITURE INDUSTRIES, INC.,     )
and LA-Z-BOY, INC.,                      )
                 Defendants.             )
                                         )
BROYHILL FURNITURE INDUSTRIES, INC.,     )
                 Counter-Claimant,       )
v.                                       )
                                         )
MARQUIS FURNITURE, INC.,                 )
                 Counter-Defendant,      )
and                                      )
                                         )
GARY D. BAUGH and MARY BAUGH,            )
                 Third-Party Defendants. )



          ORDER OF DISMISSAL WITH PREJUDICE AS TO
        DEFENDANTS, MATHIS BROS. FURNITURE CO., INC.,
     MATHIS BROS. OKLAHOMA CITY, LLC, MATHIS EVANS, LLC,
               AND MATHIS HOLDING, INC., ONLY

             Upon the Motion [DKT #246] of Plaintiff, Marquis Furniture, Inc., and the

Defendants, Mathis Bros. Furniture Co., Inc., Mathis Bros. Oklahoma City, LLC, Mathis

Evans, LLC, and Mathis Holding, Inc., IT IS THEREFORE ORDERED that Plaintiff’s

claims against the Defendants, Mathis Bros. Furniture Co., Inc., Mathis Bros. Oklahoma
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City, LLC, Mathis Evans, LLC, and Mathis Holding, Inc., are hereby dismissed with

prejudice, with each party to pay its own costs and attorney’s fees.

                     IT IS SO ORDERED this 21st day of August, 2008.




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